Case 2:05-cv-02480-.]DT-STA Document 6 Filed 08/03/05 Page 1 of 3 Page|D 10

 

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Plaintiff,

v. No. 05~2480 Ml/P
ESTATE OF THOMAS DICKERSON, II,
As Employee/Agent of Greyhound
Lines, Inc., and GREYHOUND
LINES, INC., and ALEX YU CHANG,
As Employee/Agent of COASTAL
GROUP CORPORATION and TRANS`USA
CORPORATION,

Defendants.

 

ORDER GRANTING JOINT MOTION TO TRANSFER CASE TO EASTERN DIVISION
AND TO STAI SCHEDULING CONFERENCE

 

Before the Court is the joint motion to transfer case to the
eastern division and. to stay the scheduling conference, filed
August 2, 2005. Good cause having been shown, the Court GRANTS the‘
nmtion. This case is hereby TRANSFERRED to the United States
District Court for the tNestern, District of Tennessee, Eastern

Division.

so oRDERED this \Zth day of August, 2005.

9 m‘ fdith

JO P. MCCALLA
‘I'ED STATES DISTRICT JUDGE

 

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ESSEE

 

.1 immy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/1emphis7 TN 38103

Carl Wyatt

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/1emphis7 TN 38103

EdWin E. Wallis

MOSS BENTON & WALLIS, PLLC
325 N. Parkway

P.O. BOX 3897

Jackson7 TN 38303--389

Robert L Scull

The LaW Oftices of Peter A. Miller
1601 S. Broadway Street

Little Rdck7 AR 72206

Mark N. Geller

NAHON SAHAROVICH & TROTZ, PLC
488 S. Mendenhall

1\/1emphis7 TN 38117

A. Scott Derrick

GULLETT SANFORD ROBINSON & MARTIN
315 Deadrick St.

Ste. 1 100

Nashville, TN 37219--888

Christopher W. Cardwell

GULLETT SANFORD ROBINSON & MARTIN
315 Deadrick St.

Ste. 1 100

Nashville, TN 37219--888

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Honorable .1 on McCalla
US DISTRICT COURT

